     Case 8:18-cv-00514-DOC-MRW Document 12 Filed 04/26/18 Page 1 of 2 Page ID #:50




1
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7                            UNITED STATES DISTRICT COURT
8                            CENTRAL DISTRICT OF CALIFORNIA
9
                                                    )   Case No. 8:18-cv-00514-DOC-MRW
10     JOSEPH MENICHIELLO                           )
                                                    )   NOTICE OF VOLUNTARY
11     Plaintiff(s),                                )   DISMISSAL OF ACTION
12                                                  )   WITHOUT PREJUDICE
       v.
13
                                                    )
       411LOCALS.COM, et al.                        )
14
                                                    )
15     Defendant(s).                                )
16
              NOW COMES THE PLAINTIFF by and through their attorneys to
17
      respectfully move this Honorable Court to dismiss this matter without prejudice
18
      pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i). No Defendant has
19
      filed either an answer or a motion for summary judgment at this time, and no
20
      Court     order   is    necessary      pursuant          to   the   Fed.   R.   Civ.   P.
21
      Respectfully submitted this 26th Day of April, 2018,
22

23                                              By: s/Adrian R. Bacon Esq.
24                                                   Adrian R. Bacon
                                                  Attorney for Plaintiff
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                                          Notice of Dismissal - 1
     Case 8:18-cv-00514-DOC-MRW Document 12 Filed 04/26/18 Page 2 of 2 Page ID #:51




1                              CERTIFICATE OF SERVICE
2
      Filed electronically on April 26 2018, with:
3

4     United States District Court CM/ECF system
5
      Notification sent electronically on April 26 2018, to:
6

7
      To the Honorable Court, all parties and their Counsel of Record

8

9     s/ Adrian R. Bacon
10
        Adrian R. Bacon
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                                        Notice of Dismissal - 2
